Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 1 of 21 Page ID #:60



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   7   and High Voltage Tattoo, Inc.
   8
   9                            UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11                                 WESTERN DIVISION
  12
       JEFFREY B. SEDLIK, an individual;       Case No. 2:21-cv-01102-DSF-MRWx
  13
                   Plaintiff,                  Before the Hon. Dale S. Fischer,
  14                                           U.S. District Judge
             vs.
  15
       KATHERINE VON                           DEFENDANTS’ ANSWER TO
  16   DRACHENBERG (a.k.a. “KAT                COMPLAINT
       VON D”), an individual; KAT
  17   VON D., INC., a California              DEMAND FOR JURY TRIAL
       corporation; HIGH VOLTAGE
  18   TATTOO, INC., a California
       corporation; and DOES 1 through 10,     Action filed:   February 7, 2021
  19   inclusive,                              Trial:          TBD
  20               Defendants.
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Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 2 of 21 Page ID #:61



   1         Defendants Katherine Von Drachenberg, Kat Von D, Inc., and High Voltage
   2   Tattoo, Inc. (collectively “Defendants”), as and for their Answer to the Complaint
   3   filed by Plaintiff Jeffrey B. Sedlik (“Plaintiff”), respond as follows:
   4
   5       RESPONSE TO ALLEGATIONS RE: JURISDICTION AND VENUE
   6         1.     In response to Paragraph 1 of the Complaint, Defendants admit that
   7   Plaintiff’s allegations arise under the U.S. Copyright Act. Except as so admitted,
   8   Defendants deny each and every allegation otherwise contained in this paragraph.
   9         2.     In response to Paragraph 2 of the Complaint, Defendants admit the
  10   allegations contained therein.
  11         3.     In response to Paragraph 3 of the Complaint, Defendants admit that
  12   defendants Kat Von D, Inc. and High Voltage, Inc. have offices and have conducted
  13   business in this district. Except as so admitted, Defendants denies each and every
  14   allegation otherwise contained in this paragraph.
  15
  16                RESPONSE TO ALLEGATIONS RE: THE PARTIES
  17         4.     In response to Paragraph 4 of the Complaint, Defendants lack
  18   knowledge or information sufficient to form a belief about the truth of the
  19   allegations therein, and on that basis deny each and every allegation contained
  20   therein.
  21         5.     In response to Paragraph 5 of the Complaint, Defendants admit that
  22   Defendant Von Drachenberg has done business within the State of California and
  23   within this district. In further response to Paragraph 5 of the Complaint,
  24   Defendants deny each and every other allegation contained therein.
  25         6.     In response to Paragraph 6 of the Complaint, Defendants admit that
  26   Defendant Kat Von D, Inc. has an office and has done business within California
  27   and this district. In further response to Paragraph 6 of the Complaint, Defendants
  28   deny each and every other allegation contained therein.

                                                  -2-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 3 of 21 Page ID #:62



   1         7.     In response to Paragraph 7 of the Complaint, Defendants admit that
   2   Defendant High Voltage Tattoo, Inc. has an office and has done business within
   3   California and this district. In further response to Paragraph 7 of the Complaint,
   4   Defendants deny each and every other allegation contained therein.
   5         8.     In response to Paragraph 8 of the Complaint, Defendants lack
   6   knowledge or information sufficient to form a belief about the truth of the
   7   allegations contained therein and, on that basis, deny each and every allegation
   8   contained therein.
   9         9.     In response to Paragraph 9 of the Complaint, Defendants deny each
  10   and every allegation contained therein.
  11         10.    In response to Paragraph 10 of the Complaint, Defendants lack
  12   knowledge or information sufficient to form a belief about the truth of the
  13   allegations contained therein and, on that basis, deny each and every allegation
  14   contained therein.
  15         11.    In response to Paragraph 11 of the Complaint, Defendants lack
  16   knowledge or information sufficient to form a belief about the truth of the
  17   allegations contained therein and, on that basis, deny each and every allegation
  18   contained therein.
  19         12.    In response to Paragraph 12 of the Complaint, Defendants lack
  20   knowledge or information sufficient to form a belief about the truth of the
  21   allegations contained therein and, on that basis, deny each and every allegation
  22   contained therein.
  23         13.    In response to Paragraph 13 of the Complaint, Defendants lack
  24   knowledge or information sufficient to form a belief about the truth of the
  25   allegations contained therein and, on that basis, deny each and every allegation
  26   contained therein.
  27         14.    In response to Paragraph 14 of the Complaint, Defendants lack
  28   knowledge or information sufficient to form a belief about the truth of the

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Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 4 of 21 Page ID #:63



   1   allegations contained therein and, on that basis, deny each and every allegation
   2   contained therein.
   3         15.    In response to Paragraph 15 of the Complaint, Defendants lack
   4   knowledge or information sufficient to form a belief about the truth of the
   5   allegations contained therein and, on that basis, deny each and every allegation
   6   contained therein.
   7         16.    In response to Paragraph 16 of the Complaint, Defendants lack
   8   knowledge or information sufficient to form a belief about the truth of the
   9   allegations contained therein and, on that basis, deny each and every allegation
  10   contained therein.
  11         17.    In response to Paragraph 17 of the Complaint, Defendants lack
  12   knowledge or information sufficient to form a belief about the truth of the
  13   allegations contained therein and, on that basis, deny each and every allegation
  14   contained therein.
  15         18.    In response to Paragraph 18 of the Complaint, Defendants lack
  16   knowledge or information sufficient to form a belief about the truth of the
  17   allegations contained therein and, on that basis, deny each and every allegation
  18   contained therein.
  19         19.    In response to Paragraph 19 of the Complaint, Defendants lack
  20   knowledge or information sufficient to form a belief about the truth of the
  21   allegations contained therein and, on that basis, deny each and every allegation
  22   contained therein.
  23         20.    In response to Paragraph 20 of the Complaint, Defendants admit the
  24   allegations contained therein.
  25         21.    In response to Paragraph 21 of the Complaint, Defendants admit that
  26   Defendant Von Drachenberg has accounts with Instagram, Facebook, and Twitter,
  27   and has had the number of followers listed at various periods of time. In further
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                                                 -4-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 5 of 21 Page ID #:64



   1   response to Paragraph 21 of the Complaint, Defendants deny each and every other
   2   allegation contained therein.
   3         22.    In response to Paragraph 22 of the Complaint, Defendants admit that
   4   Defendant Kat Von D, Inc. is a California corporation, with an office in North
   5   Hollywood, California, and that Defendant Von Drachenberg is an officer and
   6   director and the owner thereof. In further answer to Paragraph 22 of the
   7   Complaint, Defendants deny each and every other allegation contained therein.
   8         23.    In response to Paragraph 23 of the Complaint, Defendants admit that
   9   Defendant High Voltage Tattoo, Inc. is a California corporation with an office in
  10   West Hollywood, California, that its webpage speaks for itself, and that the tattoo at
  11   issue in this case was created at High Voltage Tattoo’s West Hollywood business
  12   location. In further response to Paragraph 24 of the Complaint, Defendants deny
  13   generally and specifically each and every allegation contained therein.
  14         24.    In response to Paragraph 25 of the Complaint, Defendants admit the
  15   allegations contained therein.
  16         25.    In response to Paragraph 25 of the Complaint, Defendants admit that
  17   Defendant High Voltage Tattoo, Inc. has accounts with Instagram, Facebook, and
  18   Twitter, and has had various number of followers at various periods of time. In
  19   further response to Paragraph 25 of the Complaint, Defendants deny each and every
  20   other allegation contained therein.
  21
  22          RESPONSE TO ALLEGATIONS RE: BACKGROUND FACTS
  23         26.    In response to Paragraph 26 of the Complaint, Defendants admit that
  24   Defendant Kat Von D did not request a license to reproduce, display, distribute
  25   and/or make derivative works of, or otherwise use the Miles Davis photograph at
  26   issue. In further response to Paragraph 26 of the Complaint, the remaining
  27   allegations of this paragraph contain legal conclusions and/or arguments which do
  28   not require an admission or denial.

                                                 -5-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 6 of 21 Page ID #:65



   1         27.    In response to Paragraph 27 of the Complaint, Defendants admit that
   2   Defendant High Voltage Tattoo did not request a license to reproduce, display,
   3   distribute and/or make derivative works of, or otherwise use the Miles Davis
   4   photograph at issue. In further response to Paragraph 27 of the Complaint, the
   5   remaining allegations of this paragraph contain legal conclusions and/or arguments
   6   which do not require an admission or denial.
   7         28.    In response to Paragraph 28 of the Complaint, Defendants admit that
   8   Defendant Kat Von D, Inc. did not request a license to reproduce, display, distribute
   9   and/or make derivative works of, or otherwise use the Miles Davis photograph at
  10   issue. In further response to Paragraph 28 of the Complaint, the remaining
  11   allegations of this paragraph contain legal conclusions and/or arguments which do
  12   not require an admission or denial.
  13         29.    In response to Paragraph 29 of the Complaint, Defendants lack
  14   knowledge or information sufficient to form a belief about the truth of the
  15   allegations contained therein and, on that basis, deny each and every allegation
  16   contained therein.
  17         30.    In response to Paragraph 30 of the Complaint, Defendants deny each
  18   and every allegation contained therein.
  19         31.    In response to Paragraph 31 of the Complaint, Defendants deny each
  20   and every allegation contained therein.
  21         32.    In response to Paragraph 32 of the Complaint, Defendants admit that a
  22   post was made on or about March 18, 2017 to the @thekatvond Instagram account
  23   and the post speaks for itself. In further answer to Paragraph 32, Defendants lack
  24   knowledge or information sufficient to form a belief about the truth of the
  25   allegations contained therein and, on that basis, deny each and every other
  26   allegation contained therein.
  27         33.    In response to Paragraph 33 of the Complaint, Defendants deny each
  28   and every allegation contained therein.

                                                 -6-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 7 of 21 Page ID #:66



   1         34.    In response to Paragraph 34 of the Complaint, Defendants deny each
   2   and every allegation contained therein.
   3         35.    In response to Paragraph 35 of the Complaint, Defendants admit that
   4   the Instagram post at issue speaks for itself. In further response to Paragraph 35,
   5   Defendants deny each and every other allegation contained therein.
   6         36.    In response to Paragraph 36 of the Complaint, Defendants lack
   7   knowledge or information sufficient to form a belief about the truth of the
   8   allegations contained therein and, on that basis, deny each and every allegation
   9   contained therein.
  10         37.    In response to Paragraph 37 of the Complaint, Defendants admit that
  11   there a post was made to the Kat Von D Facebook page on or about March 18, 2017
  12   and the post speaks for itself. In further response to Paragraph 37 of the Complaint,
  13   Defendants lacks knowledge or information sufficient to form a belief about the
  14   truth of the remaining allegations of this Paragraph and, on that basis, deny each
  15   and every other allegation contained therein.
  16         38. In response to Paragraph 38 of the Complaint, Defendants lack
  17   knowledge or information sufficient to form a belief about the truth of the
  18   allegations contained therein and, on that basis, deny each and every allegation
  19   contained therein.
  20         39.    In response to Paragraph 39 of the Complaint, Defendants lack
  21   knowledge or information sufficient to form a belief about the truth of the
  22   allegations contained therein and, on that basis, deny each and every allegation
  23   contained therein.
  24         40.    In response to Paragraph 40 of the Complaint, Defendants lack
  25   knowledge or information sufficient to form a belief about the truth of the
  26   allegations contained therein and, on that basis, deny each and every allegation
  27   contained therein.
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                                                 -7-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 8 of 21 Page ID #:67



   1         41.    In response to Paragraph 41 of the Complaint, Defendants deny each
   2   and every allegation contained therein.
   3         42.    In response to Paragraph 42 of the Complaint, Defendants admit that
   4   the YouTube post at issue speaks for itself. In further response to Paragraph 42 of
   5   the Complaint, Defendants lack knowledge or information sufficient to form a
   6   belief about the truth of the allegations contained therein and, on that basis, deny
   7   each and every other allegation contained therein.
   8         43.    In response to Paragraph 43 of the Complaint, Defendants lack
   9   knowledge or information sufficient to form a belief about the truth of the
  10   allegations contained therein and, on that basis, deny each and every allegation
  11   contained therein.
  12         44.    In response to Paragraph 44 of the Complaint, Defendants lack
  13   knowledge or information sufficient to form a belief about the truth of the
  14   allegations contained therein and, on that basis, deny each and every allegation
  15   contained therein.
  16         45.    In response to Paragraph 45 of the Complaint, Defendants lack
  17   knowledge or information sufficient to form a belief about the truth of the
  18   allegations contained therein and, on that basis, deny each and every allegation
  19   contained therein.
  20         46.    In response to Paragraph 46 of the Complaint, Defendants lack
  21   knowledge or information sufficient to form a belief about the truth of the
  22   allegations contained therein and, on that basis, deny each and every allegation
  23   contained therein.
  24         47.    In response to Paragraph 47 of the Complaint, Defendants admit that
  25   this paragraph accurately depicts an image posted to the @thekatvond Instagram
  26   account on or about May 16, 2017. In further answer to Paragraph 47, Defendants
  27   lack knowledge or information sufficient to form a belief about the truth of the
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Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 9 of 21 Page ID #:68



   1   allegations contained therein and, on that basis, deny each and every other
   2   allegation contained therein.
   3         48.    In response to Paragraph 48 of the Complaint, Defendants deny each
   4   and every allegation contained therein.
   5         49.    In response to Paragraph 49 of the Complaint, Defendants admit that
   6   the May 17, 2017 post on the @thekatvond Instagram page speaks for itself. In
   7   further response to Paragraph 49, Defendants deny each and every other allegation
   8   contained therein.
   9         50.    In response to Paragraph 50 of the Complaint, Defendants lack
  10   knowledge or information sufficient to form a belief about the truth of the
  11   allegations contained therein and, on that basis, deny each and every allegation
  12   contained therein.
  13         51.    In response to Paragraph 51 of the Complaint, Defendants admit that a
  14   post was made on the Kat Von D Facebook page on or about May 21, 2017 and the
  15   post speaks for itself. In further answer to Paragraph 51, Defendants deny each
  16   and every other allegation contained therein.
  17         52.    In response to Paragraph 52 of the Complaint, Defendants lack
  18   knowledge or information sufficient to form a belief about the truth of the
  19   allegations contained therein and, on that basis, deny each and every allegation
  20   contained therein.
  21         53.    In response to Paragraph 53 of the Complaint, Defendants admit that a
  22   post was made on May 16, 2017 on the @thekatvond Instagram account and that
  23   the post speaks for itself. In further answer to Paragraph 53, Defendants deny each
  24   and every other allegation contained therein.
  25         54.    In response to Paragraph 54 of the Complaint, Defendants deny each
  26   and every allegation contained therein.
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Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 10 of 21 Page ID #:69



   1         55.    In response to Paragraph 55 of the Complaint, Defendants admit that
   2   the May 16, 2017 Instagram post speaks for itself. In further answer to Paragraph
   3   55, Defendants deny each and every other allegation contained therein.
   4         56.    In response to Paragraph 56 of the Complaint, Defendants lack
   5   knowledge or information sufficient to form a belief about the truth of the
   6   allegations contained therein and, on that basis, deny each and every allegation
   7   contained therein.
   8         57.    In response to Paragraph 57 of the Complaint, Defendants admit that a
   9   post was made to the Kat Von D Facebook page on or about May 16, 2017, and that
  10   the post speaks for itself. In further answer to Paragraph 57 of the Complaint,
  11   Defendants deny each and every other allegation contained therein.
  12         58.    In response to Paragraph 58 of the Complaint, Defendants admit that a
  13   post was made to the @thekatvond Twitter account on or about May 16, 2017, and
  14   that the post speaks for itself. In further answer to Paragraph 58 of the Complaint,
  15   Defendants deny each and every other allegation contained therein.
  16         59.    In response to Paragraph 59 of the Complaint, Defendants lack
  17   knowledge or information sufficient to form a belief about the truth of the
  18   allegations contained therein and, on that basis, deny each and every allegation
  19   contained therein.
  20         60.    In response to Paragraph 60 of the Complaint, Defendants admit that
  21   on or about March 17, 2017, a post was made to the @highvoltagetat Instagram
  22   account and that the post speaks for itself. In further answer to Paragraph 60,
  23   Defendants deny each and every other allegation contained therein.
  24         61.    In response to Paragraph 61 of the Complaint, Defendants deny each
  25   and every allegation contained therein.
  26         62.    In response to Paragraph 62 of the Complaint, Defendants admit that
  27   the March 17, 2017 post to the @highvoltagetat Instagram account speaks for itself.
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                                                 -10-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 11 of 21 Page ID #:70



   1   In further answer to Paragraph 62 of the Complaint, Defendants deny each and
   2   every other allegation contained therein.
   3         63.    In response to Paragraph 63 of the Complaint, Defendants lack
   4   knowledge or information sufficient to form a belief about the truth of the
   5   allegations contained therein and, on that basis, deny each and every allegation
   6   contained therein.
   7         64.    In response to Paragraph 64 of the Complaint, Defendants admit that a
   8   post was made on or about March 17, 2017 to the High Voltage Tattoo Facebook
   9   account and that the post speaks for itself. In further answer to Paragraph 64,
  10   Defendants deny each and every other allegation contained therein.
  11         65.    In response to Paragraph 65 of the Complaint, Defendants lack
  12   knowledge or information sufficient to form a belief about the truth of the
  13   allegations contained therein and, on that basis, deny each and every allegation
  14   contained therein.
  15         66.    In response to Paragraph 66 of the Complaint, Defendants admit that,
  16   on or about April 15, 2017, a post was made to the @highvoltagetat Instagram
  17   account and that the post speaks for itself. In further answer to Paragraph 66,
  18   Defendants deny each and every other allegation contained therein.
  19         67.    In response to Paragraph 67 of the Complaint, Defendants deny each
  20   and every allegation contained therein.
  21         68.    In response to Paragraph 68 of the Complaint, Defendants admit that
  22   the post to the @highvoltagetat Instagram account speaks for itself. In further
  23   answer to Paragraph 68, Defendants deny each and every other allegation contained
  24   therein.
  25         69.    In response to Paragraph 69 of the Complaint, Defendants lack
  26   knowledge or information sufficient to form a belief about the truth of the
  27   allegations contained therein and, on that basis, deny each and every allegation
  28   contained therein.

                                                   -11-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 12 of 21 Page ID #:71



   1         70.    In response to Paragraph 70 of the Complaint, Defendants admit that a
   2   post was made on High Voltage Tattoo’s Facebook page on or about April 15, 2017
   3   and that the post speaks for itself. In further answer to Paragraph 70 of the
   4   Complaint, Defendants deny each and every other allegation contained therein.
   5         71.    In response to Paragraph 71 of the Complaint, Defendants lack
   6   knowledge or information sufficient to form a belief about the truth of the
   7   allegations contained therein and, on that basis, deny each and every allegation
   8   contained therein.
   9         72.    In response to Paragraph 72 of the Complaint, Defendants admit that,
  10   on or about April 26, 2018, a post was made on the @highvoltagetat Instagram
  11   page and that the post speaks for itself. In further answer to Paragraph 70 of the
  12   Complaint, Defendants deny each and every other allegation contained therein.
  13         73.    In response to Paragraph 73 of the Complaint, Defendants deny each
  14   and every allegation contained therein.
  15         74.    In response to Paragraph 74 of the Complaint, Defendants admit that
  16   the April 26, 2018 post on the @highvoltagetat Instagram page speaks for itself. In
  17   further answer to Paragraph 74, Defendants deny each and every other allegation
  18   contained therein.
  19         75.    In response to Paragraph 75 of the Complaint, Defendants lack
  20   knowledge or information sufficient to form a belief about the truth of the
  21   allegations contained therein and, on that basis, deny each and every allegation
  22   contained therein.
  23         76.    In response to Paragraph 76 of the Complaint, Defendants lack
  24   knowledge or information sufficient to form a belief about the truth of the
  25   allegations contained therein and, on that basis, deny each and every allegation
  26   contained therein.
  27         77.    In response to Paragraph 77 of the Complaint, Defendants deny each
  28   and every allegation contained therein.

                                                 -12-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 13 of 21 Page ID #:72



   1         78.    In response to Paragraph 78 of the Complaint, Defendants deny each
   2   and every allegation contained therein.
   3         79.    In response to Paragraph 79 of the Complaint, Defendants deny each
   4   and every allegation contained therein.
   5         80.    In response to Paragraph 80 of the Complaint, Defendants admit that
   6   Plaintiff never gave Defendants permission, authority, or a license to reproduce,
   7   display, distribute, or make derivative works of his photograph. In further answer
   8   to Paragraph 80, Defendants deny each and every other allegation contained
   9   therein.
  10         81.    In response to Paragraph 81 of the Complaint, Defendants admit that
  11   Plaintiff never gave Defendants permission to remove copyright management
  12   information from his photograph. In further answer to Paragraph 80, Defendants
  13   deny each and every other allegation contained therein.
  14         82.    In response to Paragraph 82 of the Complaint, Defendants deny each
  15   and every allegation contained therein.
  16         83.    In response to Paragraph 83 of the Complaint, Defendants deny each
  17   and every allegation contained therein.
  18         84.    In response to Paragraph 84 of the Complaint, Defendants object that
  19   settlement communications are privileged and, on that basis, deny each and every
  20   allegation contained therein.
  21
  22                              FIRST CLAIM FOR RELIEF
  23                              [For Copyright Infringement]
  24         85.    In response to Paragraph 85 of the Complaint, Defendants repeat and
  25   reallege every allegation, admission, and denial set forth above in Paragraphs 1
  26   through 84 as if fully set forth herein.
  27         86.    In response to Paragraph 86 of the Complaint, Defendants lack
  28   knowledge or information sufficient to form a belief about the truth of the

                                                  -13-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 14 of 21 Page ID #:73



   1   allegations contained therein and, on that basis, deny each and every allegation
   2   contained therein.
   3         87.    In response to Paragraph 87 of the Complaint, Defendants lack
   4   knowledge or information sufficient to form a belief about the truth of the
   5   allegations contained therein and, on that basis, deny each and every allegation
   6   contained therein.
   7         88.    In response to Paragraph 88 of the Complaint, Defendants deny each
   8   and every allegation contained therein.
   9         89.    In response to Paragraph 89 of the Complaint, Defendants deny each
  10   and every allegation contained therein.
  11         90.    In response to Paragraph 90 of the Complaint, Defendants deny each
  12   and every allegation contained therein.
  13         91.    In response to Paragraph 91 of the Complaint, Defendants deny each
  14   and every allegation contained therein.
  15         92.    In response to Paragraph 92 of the Complaint, Defendants deny each
  16   and every allegation contained therein.
  17         93.    In response to Paragraph 93 of the Complaint, Defendants deny each
  18   and every allegation contained therein.
  19         94.    In response to Paragraph 94 of the Complaint, Defendants deny each
  20   and every allegation contained therein.
  21         95.    In response to Paragraph 95 of the Complaint, Defendants deny each
  22   and every allegation contained therein.
  23         96.    In response to Paragraph 96 of the Complaint, Defendants deny each
  24   and every allegation contained therein.
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                                                 -14-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 15 of 21 Page ID #:74



   1                            SECOND CLAIM FOR RELIEF
   2                         [For Vicarious Copyright Infringement]
   3         97.    In response to Paragraph 97 of the Complaint, Defendants repeat and
   4   reallege every allegation, admission, and denial set forth above in Paragraphs 1
   5   through 84 as if fully set forth herein.
   6         98.    In response to Paragraph 98 of the Complaint, Defendants deny each
   7   and every allegation contained therein.
   8         99.    In response to Paragraph 99 of the Complaint, Defendants deny each
   9   and every allegation contained therein.
  10         100. In response to Paragraph 100 of the Complaint, Defendants deny each
  11   and every allegation contained therein.
  12         101. In response to Paragraph 101 of the Complaint, Defendants deny each
  13   and every allegation contained therein.
  14         102. In response to Paragraph 102 of the Complaint, Defendants deny each
  15   and every allegation contained therein.
  16         103. In response to Paragraph 103 of the Complaint, Defendants deny each
  17   and every allegation contained therein.
  18         104. In response to Paragraph 104 of the Complaint, Defendants deny each
  19   and every allegation contained therein.
  20         105. In response to Paragraph 105 of the Complaint, Defendants deny each
  21   and every allegation contained therein.
  22         106. In response to Paragraph 106 of the Complaint, Defendants deny each
  23   and every allegation contained therein.
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                                                  -15-
Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 16 of 21 Page ID #:75



   1                              THIRD CLAIM FOR RELIEF
   2                      [For Contributory Copyright Infringement]
   3         107. In response to Paragraph 107 of the Complaint, Defendants repeat and
   4   reallege every allegation, admission, and denial set forth above in Paragraphs 1
   5   through 84 as if fully set forth herein.
   6         108. In response to Paragraph 108 of the Complaint, Defendants deny each
   7   and every allegation contained therein.
   8         109. In response to Paragraph 109 of the Complaint, Defendants deny each
   9   and every allegation contained therein.
  10         110. In response to Paragraph 110 of the Complaint, Defendants deny each
  11   and every allegation contained therein.
  12         111. In response to Paragraph 111 of the Complaint, Defendants deny each
  13   and every allegation contained therein.
  14         112. In response to Paragraph 112 of the Complaint, Defendants deny each
  15   and every allegation contained therein.
  16         113. In response to Paragraph 113 of the Complaint, Defendants deny each
  17   and every allegation contained therein.
  18         114. In response to Paragraph 114 of the Complaint, Defendants deny each
  19   and every allegation contained therein.
  20         115. In response to Paragraph 115 of the Complaint, Defendants deny each
  21   and every allegation contained therein.
  22         116. In response to Paragraph 116 of the Complaint, Defendants deny each
  23   and every allegation contained therein.
  24         117. In response to Paragraph 117 of the Complaint, Defendants deny each
  25   and every allegation contained therein.
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Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 17 of 21 Page ID #:76



   1                            FOURTH CLAIM FOR RELIEF
   2                            [For Violation of 17 USC § 1202]]
   3         118. In response to Paragraph 118 of the Complaint, Defendants repeat and
   4   reallege every allegation, admission, and denial set forth above in Paragraphs 1
   5   through 84 as if fully set forth herein.
   6         119. In response to Paragraph 119 of the Complaint, Defendants lack
   7   knowledge or information sufficient to form a belief about the truth of the
   8   allegations contained therein and, on that basis, deny each and every allegation
   9   contained therein.
  10         120. In response to Paragraph 120 of the Complaint, Defendants deny each
  11   and every allegation contained therein.
  12         121. In response to Paragraph 122 of the Complaint, Defendants deny each
  13   and every allegation contained therein.
  14         123. In response to Paragraph 123 of the Complaint, Defendants deny each
  15   and every allegation contained therein.
  16         124. In response to Paragraph 124 of the Complaint, Defendants deny each
  17   and every allegation contained therein.
  18
  19                               AFFIRMATIVE DEFENSES
  20         In response to the Complaint, Defendants assert the following affirmative
  21   defenses:
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  23                                 First Affirmative Defense
  24         1.     The Complaint fails to allege a claim upon which relief may be
  25   granted.
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Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 18 of 21 Page ID #:77



   1                               Second Affirmative Defense
   2         2.     The alleged infringements, or remedies Plaintiff seeks, are barred in
   3   whole or part by statutes of limitation, including, inter alia, 17 U.S.C. § 507(b).
   4
   5                                Third Affirmative Defense
   6         3.     Without admitting the alleged use of any copyrighted material
   7   allegedly owned by Plaintiff, which is denied, the conduct of which Plaintiff
   8   complains constitutes fair use.
   9
  10                               Fourth Affirmative Defense
  11         4.     Plaintiff has suffered no injury or damage as a result of any act or
  12   conduct by Defendants, nor are Defendants’ revenues or profits attributable to the
  13   allegedly infringing conduct.
  14
  15                                Fifth Affirmative Defense
  16         5.     To the extent that Defendants engaged in any infringement, such
  17   infringement was innocent and was not willful or intentional.
  18
  19                                Sixth Affirmative Defense
  20         6.      The Complaint’s claims for damages against Defendants are barred
  21   because Plaintiff’s alleged damages are speculative or uncertain in their nature and
  22   are not susceptible of proof with reasonable certainty.
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  24                               Seventh Affirmative Defense
  25         7.     The Complaint, and each and every purported claim for relief therein,
  26   is barred by the doctrine of waiver.
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Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 19 of 21 Page ID #:78



   1                               Eighth Affirmative Defense
   2         8.     The Complaint, and each and every purported claim for relief therein,
   3   is barred by the doctrine of estoppel.
   4
   5                                Ninth Affirmative Defense
   6         9.     The Complaint, and each and every purported claim for relief therein,
   7   is barred by the doctrine of laches.
   8
   9                                Tenth Affirmative Defense
  10         10.    The Complaint, and each and every purported claim for relief therein,
  11   is barred by the doctrine of unclean hands.
  12
  13                              Eleventh Affirmative Defense
  14         11.    To the extent Defendants engaged in any of the acts complained of,
  15   such acts were excused, justified, or privileged.
  16
  17                                            PRAYER
  18         WHEREFORE, Defendants pray for judgment as follows:
  19         1.     That Plaintiff take nothing by way of his Complaint and that the
  20   Complaint be dismissed;
  21         2.     That the Complaint, and each and every purported claim for relief set
  22   forth therein, be dismissed with prejudice;
  23         3.     That Defendants be awarded their costs and attorneys’ fees; and
  24         4.     For such other and further relief as the Court deems just and proper.
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Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 20 of 21 Page ID #:79



   1   Dated: April 19, 2021          GRODSKY, OLECKI & PURITSKY LLP
                                       Allen B. Grodsky
   2                                   John J. Metzidis
   3
                                      By:    /s/ Allen B. Grodsky
   4                                             Allen B. Grodsky
   5                                  Attorneys for Defendants Katherine Von
                                      Drachenberg, Kat Von D, Inc., and High Voltage
   6                                  Tattoo, Inc.
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Case 2:21-cv-01102-DSF-MRW Document 13 Filed 04/19/21 Page 21 of 21 Page ID #:80



   1                            DEMAND FOR JURY TRIAL
   2         Defendants hereby demand trial by jury of this matter.
   3
       Dated: April 19, 2021            GRODSKY, OLECKI & PURITSKY LLP
   4                                     Allen B. Grodsky
                                         John J. Metzidis
   5
   6                                    By:     /s/ Allen B. Grodsky
                                                    Allen B. Grodsky
   7
                                        Attorneys for Defendants Katherine Von
   8                                    Drachenberg, Kat Von D, Inc., and High Voltage
                                        Tattoo, Inc.
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